4:01-cr-03105-RGK-CRZ              Doc # 334        Filed: 11/09/05        Page 1 of 5 - Page ID # 1109


                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                          Case Number 4:01cr3105

                                                            USM Number 16944-047
KENNAN MALLORY
                         Defendant
                                                            Michael J. Hansen

                                                            Defendant’s Attorney
___________________________________

                                  JUDGMENT IN A CRIMINAL CASE
                          (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of Mandatory Condition and Standard Condition #7
of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                     Date Violation
        Violation Number                     Nature of Violation                      Concluded


 1. (Mandatory Condition)             The defendant shall not commit                 June 27, 2005
                                      another federal, state, or local
                                      crime.

 2. (Standard Condition #7)           The defendant shall refrain from               August 3, 2005
                                      excessive use of alcohol and
                                      shall not purchase, possess,
                                      use, distribute, or administer any
                                      controlled substance or any
                                      paraphernalia related to any
                                      controlled substances, except
                                      as prescribed by a physician.

Original Offense: Conspiracy to distribute and possess with intent to distribute cocaine base in violation of 21
USC 846.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegation #3 of the Amended Petition for Offender Under Supervision is dismissed on the motion
of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
4:01-cr-03105-RGK-CRZ          Doc # 334      Filed: 11/09/05      Page 2 of 5 - Page ID # 1110




IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                              November 4, 2005

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                        November 9, 2005
4:01-cr-03105-RGK-CRZ         Doc # 334      Filed: 11/09/05     Page 3 of 5 - Page ID # 1111


Defendant: KENNAN MALLORY                                                                 Page 3 of 5
Case Number: 4:01cr3105


                                       IMPRISONMENT

       It is ordered that defendant’s term of supervised release is revoked. The defendant is
hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 60 months with no supervised release to follow.

The Court makes the following recommendations to the Bureau of Prisons:

1.     That the defendant participate in the 500-hour Intensive Drug Treatment Program or any
       similar drug treatment program available.

2.     That the defendant be incarcerated in a federal facility as close to Lincoln, Nebraska as
       possible.

The defendant is remanded to the custody of the United States Marshal.


                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
4:01-cr-03105-RGK-CRZ         Doc # 334      Filed: 11/09/05     Page 4 of 5 - Page ID # 1112


Defendant: KENNAN MALLORY                                                                Page 4 of 5
Case Number: 4:01cr3105


                            CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                  Total Restitution

        $100.00 (PAID)


                                             FINE

       No fine imposed.



                                        RESTITUTION

       No restitution was ordered.
4:01-cr-03105-RGK-CRZ              Doc # 334        Filed: 11/09/05    Page 5 of 5 - Page ID # 1113


Defendant: KENNAN MALLORY                                                                        Page 5 of 5
Case Number: 4:01cr3105


                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, the court orders that payment of the total criminal
monetary penalties shall be due as follows:

        The defendant has paid the special assessment in the amount of $100.00.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
P.O. Box 83468, Lincoln, NE 68501.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and court costs.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
